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                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                     Abingdon Division

__________________________________________
                                          )
LANE ENGINEERING, INC. d/b/a/             )
THE LANE GROUP INC.                       )
                                          )
                   Plaintiff,             )
                                          )
v.                                        )                 Case No. ______________
                                          )
WASHINGTON COUNTY SERVICE                 )
AUTHORITY                                 )
                                          )
SERVE: Water Authority                    )
         Abingdon VA 99999                )
                                          )
                   Defendant.             )
__________________________________________)

                                         COMPLAINT

       COMES NOW Plaintiff Lane Engineering, Inc., d/b/a The Lane Group Inc., (“Lane”) by

counsel, for its Complaint against Defendant Washington County Service Authority, (“WCSA”),

states as follows:

                                   NATURE OF THE CASE

       1.      In this action, Plaintiff seeks damages and injunctive relief for infringement under

the Copyright Act, as well as damages for WCSA’s breach of contract. This action arises from

Defendant’s unlawful use of copyrighted engineering drawings without Plaintiff’s consent and

Defendant’s failure to provide Plaintiff with payment of all sums owed in connection with

Defendant’s termination of the contract between Plaintiff and Defendant.




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                                              PARTIES

        2.      Lane, a Virginia corporation, is an architectural and engineering firm engaged in

the business of rendering professional architectural and engineering design services. Its principle

place of business is 310 Valley Street, NW, Abingdon, Virginia 24210.

        3.      WCSA is a water and utility company engaged in the business of water distribution

and wastewater treatment in Southwest Virginia. Its principle place of business is located 25122

Regal Drive, Abingdon, Virginia 24211.

                                  JURISDICTION AND VENUE

        4.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§1338 as this action arises under an Act of Congress relating to copyrights. Furthermore, the Court

also has supplemental jurisdiction pursuant to 28 U.S.C. §1367 because Count II of the Complaint,

arises from a common nucleus of operative facts as the case or controversy pled as Count I.

        5.      Venue lies in this District under 28 U.S.C. § 1391(b)(1)-(2) due to the fact that: (i)

both parties are Virginia residents and Defendant resides in this District and (ii) a substantial part

of the events giving rise to the cause of action transpired in this District.

                           FACTS OF GENERAL APPLICABILITY

        6.      On or about June 27, 2016, Lane contracted with WCSA to provide certain

engineering and related design services (the “Agreement”) in conjunction with the Galvanized

Waterline-Phase 3 Project (the “Project”). Shortly thereafter, Lane began to perform the services

in accordance with provisions of the Agreement. The sole purpose of the Project is to extend and

replace fresh potable water to the consuming public in Washington County Virginia. The

Agreement is attached hereto as Exhibit A.




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       7.      Pursuant to the terms of the Agreement, Lane was to, inter alia, produce and submit

to WCSA various engineering design plans for the Project. In consideration for Lane’s services,

WCSA would pay Lane in the amounts equal to those specified in Lane’s monthly invoices it

submitted to WCSA, payable within 30 days.

       8.      In accordance with the Agreement, Lane designed and submitted to WCSA certain

engineering design plans entitled “Washington County Service Authority Galvanized Waterline

Replacement Project-Phase III” (herein collectively referred to as the “Instruments of Service” and

the “3G Project”).

       9.      The Article 6.03A. of the Agreement provided that Lane was the owner of the

copyright and thus had exclusive rights to control copying, publication and distribution of The

Instruments of Service. The Instruments of Service also contained Lane’s distinct logo and the

following language: “The Lane Group Inc. © 2014”.

       10.     Lane owns a valid copyright for its 3G Project Instruments of Service created for

the Project, and said instruments have been registered with the U.S. Copyright office pursuant to

17 U.S.C. 408-409. A copy of the Certificate of Registration is attached hereto as Exhibit B.

       11.     The Agreement explicitly provides that Lane would retain all ownership rights

including all copyrights and the rights of reuse (subject to Lane’s sole discretion), for all

Instruments of Service, irrespective of whether the Project was completed, or the Agreement

terminated by either party. The Agreement provides that WCSA could make and retain copies of

the Instruments of Service for informational and reference purposes only. Further the terms of the

license precluded any transfer of rights to third parties.

       12.     The Agreement also provided WCSA with a limited license (the “Conditional

License”), expressly conditioned on Lane’s receipt of full payment for all services related to the



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preparation of the Instruments of Service. Once WCSA fulfilled the conditions set forth in the

Conditional License. WCSA was allowed to make copies for its sole reference and information.

       13.     On or about March 12, 2019 WCSA provided notice to Lane that it intended to

exercise its right to terminate the Agreement for convenience, effective immediately. At the same

time, WCSA served similar Notice of Termination for several other projects including an

Abingdon Water Tank Storage Tank Improvement project that has some relation to the 3G project.

       14.     The Agreement provides that if WCSA terminated for convenience, Lane was

entitled to payment for certain termination expenses (the “Termination Expenses”) including: (i)

full payment for all services rendered pursuant to the Agreement, (ii) the Reimbursable Expenses

directly incurred by Lane incurred in performing services pursuant to the Agreement; and (iii)

reasonable expenses directly attributable to WCSA’s termination of the Agreement incurred by

Lane in the period of time prior to and after the Agreement’s termination; such as “reassignment

of personnel, costs of terminating contracts with Engineer’s consultants, and other related close-

out costs….”

       15.     On or about April 3, 2019 in accordance with provisions contained in the

Agreement, Lane submitted a final invoice to WCSA for payment in the amount of $311,297.19

reflecting the amount owed for the Termination Expenses. Prior to filing this Complaint WCSA

has paid some but not all of that amount.

       16.     Despite many demands, WCSA has refused to provide payment to Lane for the

sums which constitute the Termination Expenses.

       17.     On or about May 10, 2019, in violation of the Agreement and the Conditional

License created therefrom, WCSA altered, recopied and or recast the Instruments of Service to

create the appearance that the Instruments of Service were authored by the WCSA. In doing so,



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WCSA illegally removed Lane’s logo and notice of copyright. WCSA then published the resulting

illegal copies to the public for the purpose of obtaining bids for the work entailed. Exemplars of

the original and also the recast illegal copies are attached hereto as Exhibit C.

       18.      WCSA also made changes within the Instruments of Service that were not suggested

or approved by Lane. To the extent that WCSA had involvement of any of its own licensed

engineer employees in this alteration and copying violation, that engineer has violated 19VAC10-

20-740 because he lacked written approval by Lane. To the extent that the illegal copying and

alteration of stamped engineering plans was accomplished by persons unlicensed to practice

engineering, then such actions constitute the illegal practice of engineering.

       19.      WCSA’s foregoing actions have damaged Lane.

                                CAUSES OF ACTION
                                       Count I
    Copyright Infringement under United States Copyright Law, 17 U.S.C. § 101 et. seq.

       20.      Lane incorporates the allegations above as if fully set forth herein.

       21.      Lane owns a valid copyright in its Instruments of Service prepared for the Project,

and said drawings, plans and specifications are protected under U.S. Copyright law, 17 U.S.C.

§101, et seq.

       22.      Lane’s copyright in its Instruments of Service is registered with the U.S. Copyright

office, and said registration was made effective prior to filing this Complaint.

       23.      WCSA had access to Lane’s copyright materials because WCSA received originals

and/or copies of the Instruments of Service directly from Lane and/or third parties and reviewed

such Instruments of Service. WCSA’s action of covering over Lane’s logo and copyright,

recopying, recasting and altering copyrighted engineering instruments of service constitutes a

prima fascia case of copyright violation which entitles Lane to damages.



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       a. Termination of WCSA’s Conditional License

       24.     Upon WCSA’s termination of the Agreement, WCSA lost the limited rights created

under the Conditional License previously held in connection with the Project.

       25.     WCSA infringed on Lane’s copyright by using the Instruments of Service in

connection with the Project and publishing the Instruments of Service for public bid in the period

of time following WCSA’s termination of the Agreement and Conditional License.

       26.     Such actionable infringement was committed willfully by WCSA.

       27.     As a direct result of WCSA’s copyright infringement, Lane has suffered damages.

       b. Exceeding the Scope of the Conditional License (in the alternative)

       28.     Lane incorporates the allegations above as if fully set forth herein.

       29.     Alternatively, in the event that the Court determines that WCSA had some post-

license with respect to the Instruments of Service WCSA’s publication of the Instruments of

Service on or about May 10, 2019 was in violation of the Conditional License created by the

Agreement and consequently, infringed on Lane’s copyright.

       30.     Lane’s receipt of full and complete payment from WCSA of all sums owed for

services relating to Lane’s preparation of the Instruments of Service; including but not limited to

the Termination Expenses, was a condition precedent to WCSA’s right to make any use the

Instruments of Service in connection with the Project created by the Conditional License.

       31.     WCSA has failed to provide complete and total payment of all sums owed for

Termination Expenses. WCSA has also announced that it fully intends to continue to violate

Lane’s copyright. Both in terms of copyright and the best interest of the public, WCSA should be

precluded from making any alterations or changes to Lane’s instruments of Service




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       32.     As a direct result of WCSA’s foregoing failure to provide payment, WCSA had not

even a Conditional License.

       33.     WCSA has infringed on Lane’s copyright by using the Instruments of Service in

connection with the Project and has proceeded to publish the Instruments of Service for public bid.

       34.     Such infringement was committed willfully by WCSA.

       35.     Lane has suffered damages as a result of this infringement.

                                           Count II
                                       Breach of Contract

       36.     Lane incorporates the allegations above as if fully set forth herein.

       37.     The Agreement is a valid contract that created a legally enforceable obligation on

WCSA to provide payment to Lane for: (i) all services performed or rendered pursuant to the

Agreement, (ii) all reimbursable expenses incurred through the date of termination of the

Agreement, and (iii) all Termination Expenses.

       38.     WCSA breached the contract by failing to pay Lane for: (i) all services performed

or rendered pursuant to the Agreement, (ii) all reimbursable expenses incurred through the date

of termination of the Agreement, and (iii) all Termination Expenses.

        39.    As a direct result of the foregoing, Lane has been damaged in the amount of

THREE HUNDRED THOUSAND AND 00/100’s Dollars ($300,000.00).

                                            Count III
                                         Injunctive Relief

       40.     Lane incorporates the allegations above as if fully set forth herein.

       41.     WCSA has announced and presented an intention to continue to violate Lane’s

copyright, both in the fashion that WCSA has previously violated Lane’s copyright and in further

ways such as the creation of derivative works.



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       42.     The alteration of Lane’s instruments of Service and creation of derivative works is

quite problematic from several standpoints: 1) it violates Lane’s copyright and Lane suffers

further damage by the misappropriation of its work and licensed engineering stamps; and, 2) it

allows WCSA to change Lane’s designs without consulting with an appropriate licensed

professional and thus constitutes and immediate threat to public safety and welfare.

       43.     The damage to Lane’s professional reputation, the damages suffered by Lane and

the unknown future liability to the public are difficult to ascertain and therefore may not

presently be addressed by money damages.

       44.     Lane indisputably owns a valid copyright in the Instruments of Service and is thus

likely to prevail on the merits of its argument that WCSA has violated Lane’s copyright.

       45.     The equities of this Complaint and injunctive prayer strongly weigh in favor of

Lane both in that it seeks protection of its undisputed intellectual property rights and also seeks

to preclude unauthorized illegal alteration of plans and specifications prepared by professional

engineers in designing a water distribution for the sole benefit of the consuming public.

                                     PRAYER FOR RELIEF

       WHEREFORE, Lane respectfully requests that this Court grant a temporary and final

injunction of any further use of Lane’s Instruments of Service by WCSA to prevent any further

infringement of Lane’s copyright by the Defendant; and the impounding and destruction or return

to Lane of all original or copies of Lane’s Instruments of Service in WCSA’s possession or that

has been provided by WCSA by third parties, if any.

       FURTHERMORE AND IN ADDITION, Lane further prays that this Court award such

damages as may be proved at trial, including but not limited to:




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        A.      An amount to be proven at trial, but not less than $250,000 for actual damages

suffered as a result of WCSA’s infringement of Lane’s copyright;

        B.      An amount to be proven at trial, but not less than $250,000 for WCSA’s profits

attributable to its infringement of Lanes copyright;

        C.      Statutory damages and attorneys’ fees and costs for WCSA’s willful infringement

of copyright

        D.      Damages in the amount of THREE HUNDRED THOUSAND and 00/100’s Dollars

($300,000.00), under Count II of the Complaint for WCSA’s breach of contract for nonpayment

of services rendered pursuant to the Agreement and WCSA’s termination thereof;

        E.      Prejudgment and post judgment interest;

        F.      The costs and attorney’s fees incurred by Lane in connection with Count I of the

Complaint.

                                  DEMAND FOR A JURY TRIAL

        Plaintiff, Lane Engineering, Inc., d/b/a The Lane Group Inc, respectfully demands a jury

trial of all counts so triable.

                                              Respectfully submitted,

                                              LANE ENGINEERING, INC .
                                              d/b/a/ The Lane Group Inc, a
                                              Virginia Corporation

                                           By /s/ Wyatt B. Durrette, III
                                                    Of Counsel
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